      Case 3:16-cv-00913-CWR-FKB Document 121 Filed 12/27/18 Page 1 of 1



                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

 JAMES PICKENS                                                                            PLAINTIFF

 v.                                                 CIVIL ACTION NO.: 3:16-cv-913-CWR-FKB

 MANAGEMENT & TRAINING CORPORATION,                                                     DEFENDANTS
 ET AL.

                                     ORDER OF DISMISSAL

       The parties have announced to the Court a settlement of this case, and the Court desires

that this matter be finally closed on its docket.

       IT IS, THEREFORE, ORDERED that this case is hereby dismissed with prejudice as

to all parties. If any party fails to execute or comply with the settlement agreement, an aggrieved

party or parties may reopen the case to enforce the settlement agreement. If successful, all

additional attorney’s fees and costs from this date shall be awarded such aggrieved party or

parties against the party failing to execute or comply with the settlement agreement.

       The Court specifically retains jurisdiction to enforce the settlement agreement.

       SO ORDERED, this the 27th day of December, 2018.


                                                     s/ Carlton W. Reeves
                                                     UNITED STATES DISTRICT JUDGE
